Case 3:17-cr-00037-DJH-HBB Document 185 Filed 06/19/19 Page 1 of 4 PageID #: 1105




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                            CRIMINAL ACTION NO. 3:17-CR-37-DJH

  UNITED STATES OF AMERICA,
                                                                                           Plaintiff,

  v.

  CHEROSCO BREWER,                                                                      Defendant.

                               REPORT AND RECOMMENDATION

          Before the Court is the Motion to Withdraw (DN 178) filed by counsel of record for

  Defendant, Cherosco Brewer (“Brewer”), David S. Mejia (“Mejia”). District Judge David J. Hale

  referred the Motion the undersigned for a report and recommendation. (DN 180.) The undersigned

  held an ex parte hearing on the Motion on June 12, 2019. (DN 184.) Assistant United States

  Attorney Erin G. McKenzie appeared for the United States to present the United States’ objection

  to the Motion and was heard before the ex parte portion of the hearing commenced. Mejia, retained

  counsel for Brewer, and Brewer himself also appeared. The hearing having concluded, this matter

  is ripe for review.

  I.      FINDINGS OF FACT

          On May 24, 2019, Brewer sent a letter to the Court in which he detailed his dissatisfaction

  with counsel and asked that the Court withdraw Mejia as his counsel. (DN 177.) In the letter,

  Brewer called his counsel “untrustworthy,” indicated he believed his counsel had lied to him, and

  stated that his counsel did not listen to his thoughts about the case. (Id.) He stated that he believed

  his lawyer to be an “ineffective assistant.” (Id.) On May 28, 2019, Mejia filed a Motion to

  Withdraw stating that based on the content of Brewer’s letter, “mutual trust, belief, and respect

  between client and attorney in this matter no longer exist.” (DN 178.) At the hearing, Mejia
Case 3:17-cr-00037-DJH-HBB Document 185 Filed 06/19/19 Page 2 of 4 PageID #: 1106




  largely reiterated the content of his Motion, but confirmed there had been a breakdown of trust and

  communication. He also indicated that where his client has asked him to withdraw, he is left with

  no choice but to honor his client’s wishes.

          At the hearing and prior to an ex parte discussion with Brewer and Mejia, the United States

  indicated that it objected to the Motion to Withdraw because of the delay it would inject into these

  proceedings and because it believed Mejia had not shown good cause under Local Criminal Rule

  57.6 Specifically, the United States argued that the situation in this case does not constitute the

  type of breakdown in communication between attorney and client that constitutes good cause under

  Rule 57.6. The United States cited United States v. Marrero, 651 F.3d 453 (6th Cir. 2011); United

  States v. Reynolds, 534 Fed. App’x 347 (6th Cir. 2013); and United States v. Vasquez, 560 F.3d

  461 (6th Cir. 2009) in support of its position. The United States also stated that it believes the

  public interest in prompt disposition of this case would be violated if the Motion were granted

  because it believed that Brewer would again have difficulty finding counsel,1 further delaying

  proceedings.

          Brewer requested that the Court appoint him counsel in the event that Meija is permitted

  to withdraw.      Because Meija and his predecessors in this case were retained counsel, the

  undersigned examined Brewer regarding his finances to determine whether Brewer would qualify

  for appointed counsel in the event his motion were granted. Brewer stated that he had been in

  custody approximately twenty-eight to twenty-nine months and had been earning no income

  during that period. He owns no real estate and no motor vehicle. He does not have a bank account.

  He does not have any other sources of funds with which to hire an attorney.



  1
   Brewer was previously represented by attorneys Scott James Barton and Keith E. Kamenish; however, the Court
  granted them leave to withdraw prior to the trial of this matter. (DN 79.) There was a delay of approximately sixty
  days between the withdrawal of prior counsel and Meija’s appearance for Brewer. (DN 84.)


                                                          2
Case 3:17-cr-00037-DJH-HBB Document 185 Filed 06/19/19 Page 3 of 4 PageID #: 1107




  II.    CONCLUSIONS OF LAW

         Pursuant to Local Criminal Rule 57.6, an attorney is not permitted to withdraw within

  twenty-one days of trial. Local Crim. Rule 57.6. Under any other circumstances, an attorney may

  only withdraw upon satisfaction of the requirements in the Rule. Here, it appears that Mejia

  attempted to meet Local Crim. Rule 57.6(b), which requires the attorney to file a motion, certify

  that it was served on his client, and make a showing of good cause. It also requires that “the Court

  consent[ ] to the withdrawal on whatever terms the Court chooses to impose.”

         Here, Mejia did not certify that the Motion was served on his client, but the undersigned

  recommends the Court excuse compliance with this portion of the Rule given Brewer’s

  independent request for Mejia’s withdrawal and the fact that Brewer was undoubtedly aware of

  the Motion as it was discussed at the ex parte hearing. The undersigned also finds based on the

  content of Brewer’s letter and Mejia’s Motion, as well as the discussion at the hearing, that there

  has been a total breakdown in communication and trust between Brewer and Mejia that prevents

  Mejia from adequately defending Brewer. Therefore, the undersigned finds that Mejia has shown

  good cause for his withdrawal and will recommend the Court grant his Motion.

         Though the undersigned reviewed the authority supplied by the United States, the

  undersigned finds Marrero, Vasquez, and Reynolds all distinguishable from the instant case

  because all three either involved an indigent defendant, appointed counsel, and the indigent

  defendant’s request to substitute another appointed counsel, or involved a defendant with a more

  extended pattern of dissatisfaction with counsel. . Marrero, 651 F.3d at 461, 464; Reynolds, 534

  Fed. App’x at 354-56; Vasquez, 560 F.3d at 461. Here, Mejia was retained counsel for Brewer.

  Given Brewer’s representations regarding his financial status, the undersigned finds that he

  qualifies for appointed counsel despite the fact that he has utilized retained counsel since the




                                                   3
Case 3:17-cr-00037-DJH-HBB Document 185 Filed 06/19/19 Page 4 of 4 PageID #: 1108




  inception of this case. As Brewer now wishes to invoke his right to the same, the undersigned

  RECOMMENDS that the Court GRANT the Motion to Withdraw (DN 178) and appoint the

  Federal Defender’s office to represent Brewer.

  III.   RECOMMENDATION

         For the reasons set forth above, the undersigned RECOMMENDS that the Motion to

  Withdraw (DN 178) be GRANTED. The undersigned further RECOMMENDS that the Court

  appoint the Federal Defender’s Office to represent Brewer.




  CC:    Counsel of Record
         June 18, 2019
  :20


                                               Notice

  Pursuant to 28 U.S.C. § 636(b)(1)(B)-(C), the undersigned Magistrate Judge hereby files with the
  Court the instant findings and recommendations. A copy shall forthwith be electronically
  transmitted or mailed to all parties. 28 U.S.C. § 636(b)(1)(C). Within fourteen (14) days after
  being served, a party may serve and file specific written objections to these findings and
  recommendations. Fed. R. Crim. P. 59(b)(2). Failure to file and serve objections to these findings
  and recommendations constitutes a waiver of a party’s right to appeal. Id.; United States v.
  Walters, 638 F.2d 947, 949-50 (6th Cir. 1981); see also Thomas v. Arn, 474 U.S. 140 (1985).




                                                   4
